Case 2:04-cv-04319-JLL-RJH Document 4 Filed 02/22/05 Page 1 of 30 PagelD: 16

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

   

 

 

 

 

oe 3
UNITED STATES COURTHOUSE = we
50 WALNUT STREET, NEWARK, NEW JERSEY ea on
oS
GEORGE MICHAEL DOUMIT mM So
409 WASHINGTON STREET # 124 U 44
HOBOKEN, NEW JERSEY 07030 care
FL Ph, Mesa: (561) 346-5994 ard i ae
VICTIM/PLAINTIFE “PRO SE” pl my .
GEORGE M. DOUMIT UNITED STATES DISTRICT COURT
VictTimM/PLAINTIFF DISTRICT OF NEW JERSEY
-Y5-
Civil Action
“WEICHERT REALTORS:”
“EXECUTIVE OFFICES:”
OF 1625 State Lfighway Route i0 East,
Morris Plains, New Jersey 07950; Docket No.
DEFENDANT 2:04-CV-04319 sILL- Rin
alfiliated Companies, Corporations, Cily(s),
Municipality(s), County(s), State Government(s),
Departments, Boards, (“all Individual Defendants
“and in their Official Capacities”) “LIBELOUS:”
AMENDMENT
“THE WEICHERT REALTORS” AMENDED
“CRIME FAMILY;”
lovether with
“THE EX-“MILE SQUARE CITY REALTY”
“CREME FAMILY?” Related Cases
together with JOINDER(S) in connections TO:
“THE MICHELLE RUSSO” including (“but nat Hinited to”):
“CRIME FAMILY” Notice Of Suit Rights
“OF IOBOKEN NEW JERSEY;” Federal 42; 1983 Civil Rights Act:
DEFENDANTS E.E.O.C. File No. 171-2004-00351
and
United States Federal Civil Docket Case No. 2:04-(:V-2647
and
United States Federal Civil Docket Case No. 2:04-(°V-6188
and

United States Federal Civil Docket Case No. “Pending:” 02/03/05
BOUMIT -vs- Coldwell Banker Realtors et. al.

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Civil Action
WEICHERT REALTORS:
EXECUTIVE OFFICES;

DEFENDANT Docket No,
MR. WEICHERT:
OWANEWC EO; 2:04-CYV-04319
DR FENDANT
C.F.O. in charee of Weichert Realtors;
DEFENDANT COMPLAINT

WEICHERT REALTORS:
The Ex & Current Hoboken Office OF One-Newark Sircet, Woboken, New Jersey;
DEFENDANT
PATRICK RICCIARDI:
Ex-Office Manager / Broker / Rental & Sales Associate: Of The Current Hoboken, New Jersey Office:
DEFENDANT
SILVINA CLARTANA:
Ex-Weichert Realtors: Ex-Rental & Sales Associate Trainee: OF The Current Hoboken, New Jersey Office:
“Currently”? A.K.A. Silvina Disks,”
DEFENDANT
“BOYFRIEND: Of Ex-Weichert Realtors Rental & Sules Associate Trainee: “Silyina Clariana:”
“He’s the “Ex-Rental and Sales Associate Trainee” Of The Ex-Mile Square City Realty
Of 100 Bloomfield Sireel, Hoboken, New Jersey: (full Name Unknown) to be Discovered;
DEFENDANT
“MR, DISLA:”
Silvina Clariana’s Ex-Boyfriend “and current Husband to date:” (Full Name Unknown) tu be Discovered;
DEFENDANT
JEROME MATHEWS:
Ex & Current Weichert Realiors Rental & Sales Associate: Hoboken, New Jersey Office;
DEFENDANT
MARTHA ROMANO:
Ex & Current Weichert Realtors Rental & Sales Assuciate/Broker: Heboken, New Jersey Office;
DEFENDANT
“THE CURRENT JOSEPH ASSENZIO
REMUNDI SR, & SON N.Y NJ.
INTERSTATE “CRIME FAMILY”
Or YONKERS NEW YORKE:”
NALU PEREIRA:
Plaintiff’s (“George M. Doumit’s") Ex-Girlfriend: OF Yonkers, New York;

DEFENDANT(S)

THE STATE OF NEW YORK: and it’s Probation and Parole Departments:
ELLIOT SPITZER;

 

 

DEFENDANT(S)

THE COUNTY OF WESTCHESTER, NEW YORE: and it’s Probation and Parole Departments:
DEFENDANT(S)

THE CITY OF YONKERS, NEW YORK: and it’s Probation and Parole Departments:

FRANK RUBINO,

DEFENDANT(S)

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THE CITY OF HOBOKEN, NEW JERSEY:
JOSEPH SHERMAN;

DERKENDANT
THE CITY OF HOBOKEN NJ. POLICE DEPARTMENT;
and it’s “INDIVIDUAL POLICE OFFICERS:" in connections to:
*** Multiple Reports and Criminal Complaints Filed By Creditable Victim (Complainant George M. Dountil,
regandiog ““4ysqifane(y):"" Silvina Clariana together with her Extremely Violent “““RACKETEERING™7”
Career Criminal ““BOYFRIENDYO" AKA. MR. DISLA: (“Silvina Clariana Disla’s current Hushand to
(late), Silvina Clariaaa’s and Mr. Disia’s multiple Stalking(s), Attack(s), Assaali(x}, Theft(s), and Vandalism(s),
CH heir Victim(s): (“the Plaintili(s}: George ML Doumit aod hls Properties") Which teak plice “within the Offices” Of
Weichert Realtors, Que-Newark Street, Hoboken, New Jersey: From ON (‘or about") Mid-August 1998
“through” September 4", 1998.

DEFENDANTS

 

WEICHERT REALTORS:
The Ex & Current Fort Lec N.J. Office OG 165 Main Street, Fort Lec, New Jersey Office;
DEFENDANT

JOSEPH TAMBURO:

‘The Ex-Regional & Ex-Office Manager / Broker / Rental & Sales Assoviate of the current: Fort Lee, New Jersey Office:
& The current Office Manager / Braker / Mental & Sales Associate Of; The current- Uohoken, New Jersey Office;

DEFENDANT
WEICHERT REALTORS: Civil Action
The Current Tenafly Nuh Office OF: 13 West Railroad Ave, Tenafly, New Jersey;
DEFENDANT Nocket No.
MARNIE SOUDY:
The Current Office Manager / Broker / Sales Associate / Tenafly, New Jersey; 2:04-€V-04319
DEFENDANT

 

COMPLAINT
REALTY EXPRESS Labarbera REALTORS:
The Ex & Current Hoboken, New Jersey Office Of: 210 Washington Street. Hoboken, New Jersey:
License # 8410300:
DEFENDANT

GIOVANNI JOHN LABARBERA & SON: VINCENT LABARBERA:
OWNER (ISVCOE.OS

DEFENDANT(S)

RIVERSIDE REALTY:

The Ex & Current [foboken, NF. Office Of: 209 Washington Street, Hoboken, New Jersey;
DEFENDANT

NAIMA GRANDELLA:

Broker / Owner / CEQ. ;
DEFENDANT

Naima Grandella’s “NIECE:” (Full Name Unknown) to be Discovered;
A.K.A. Riverside Realty’s Ex-Office Receptionist:
From: June 29", 1998 thruugh Mid 2000, (Possibly thereafter as well”):

(“Full Name Unknown”);
DEFENDANT
MICHELLE RUSSO:
The Ex & Current Broker / Rental & Sales & “Listings” Associate “and Silent Partner”
Of The Current Riverside Realty: 209 Washington Street, Hoboken, New Jersey;
DEFENDANT

 

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THE CITY OF HOBOKEN, NEW JERSEY:

JOSEPH SHERMAN;
DEFENDANTS

AN TLLONY RUSSO:

“& Ex-Hoboken, NT. MAYOR”
DEFNDANTS

MICTIAEL RUSSO:

*“& Current Hoboken, N.J. City Councilman;”
DEFENDANT

ANTIIONY RUSSO JR. :

“*& Current Hoboken N.J. Police Officer:
DEFENDANT

NICK RUSSO:

“& Current Hoboken, NJ. Police Officer;
DEFENDANT

THE CITY OF TOBOKEN NL. POLICE DEPARTMENT:
DEFENDANTS

THE HOBOKEN CHAMBER OF COMMERCE: Civil Action

BRIAN BATTAGLIA;
DEFENDANTS Docket No.

THE COUNTY OF HUDSON COUNTY NI.

DONATO BATTISTA: 2:04-C¥-04319
DEFENDANT

THE ILUDSON COUNTY BOARD OF REALTORS:

& JOSEPH WOTLENDORE & BILLY HESLIN: COMPLAINT
DEFENDANTS

TIE EASTERN BERGEN COUNTY BOARD OF REALTORS:

ROBERT WHITE;

 

DEFENDANTS
THE STATE OF NEW JERSEY and it’s Probation and Parole Departments:
PETER C. HARVEY:
DEFENDANTS
THE STATE OF NEW JERSEY: DEPARTMENT OF BANKING AND INSURANCE:
Peter © Harvey & HOLLY BAKKE;
DEFENDANTS
THE STATE OF NEW JERSEY REAL ESTATE COMMISSION:
Peter (. Harvey & HOLLY BAKKE;
DEFENDANTS
THE CIPY OF IKEOBOKEN, NEW JERSEY:
IOSEPH SHERMAN,
DEFENDANTS
DAVID ROBERTS:
“& Current Hobokes, 8.J. MAYOR:
DEFENDANTS
“LIBERTY REALTY, L.L.C.:”

The Current Hoboken, N.J. Office Of: 525 Washington Strect, Hoboken, New Jersey;

 

 

 

DEFENDANT

“JOSEPH C, COVELLO:”
OWNERIC_E.O,
DEFENDANT

“SELVINA DISLA:” (A.K.A. by her Maiden Name: “Silvina Clariana”):
CURRENT Rental & Sales Associate Of: Liberty Realty L.L.C, Hoboken, New Jersey;
DEFENDANT

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CORPORATE REALTY:
The Ex & Current Hoboken, N.1. Office Of: 529 Washington Sireet, Hoboken, New Jersey;

DEFENDANT
KOSMOS BAGDANOS JR.
& DAO BAGDAN GS
OWNERS(S VOLE. (5)

DEFENDANTS
SILVINA CLARIANA:
Ex-Rental & Sales Associate: Corporate Realty, Hoboken, New Jersey:
“Currenly A-R.AL “Silvina Dishay”

DEFENDANT
REALTY EXPRESS LABARBERA REALTORS:
The Ex & Current Huboken, NuL Office Of: 210 Washington Street. Hoboken, New Jersey:
License f 8410306:

DEFENDANT
GIOVANNI JOHN LABRARBERA & SON: VINCENT LABARBERA:
OWNER(S}C,E.0(55

DEFENDANTS
SILVINA CLARIANA:
The Ex-Renial & Sales Associate: Really Express Labarbera & Son, Habaken New Jersey:
“Currently” A-BK-A. “Silvina Dista:”

DEFENDANT

 

Civil Action
Dockct No.
2:04-CV-04319

COMPLAINT

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Victim/Plaintiff George M. Doumit with regard to his own safety
and well being, additionally on behalf of his two teenage children’s
safety and well being, ages 16 “daughter” and 17 “son” by way of
Complaint against the defendant(s) says:

 

ma c
S wa
“PARTIES” — . m
& Including (but aut limited to): rm Orn
“PIVERSITY OF JURISDICTION” wa B=
ee
tupether with nm zo m7
FEDERAL QUESTION(S): ae?
TJ _{ cy
1). The plaintiff George M. Doumit an individual, a bona fide resident of New Jersey Hudson/Bezgen © 3 my
err}

      

County(s), Florida Primarily Heraando/Palm Beach County(s), af 409 Washington Street #124,
Hoboken, New Jersey 07030, became lawfully employed through an Independent Contraghhal
Basis on June 29". 1998 by the defendants Weichert Realtors Of 1625 State Highway
Route 10 Kast, Morris Plains, New Jersey 07950 together with Mr. Weichert
(Owner/C.E.O.), C.F.O. in charge of Weichert Realtors (Name Unknown), together
with Joseph Tamburo: Ex-Regional & Ex-Office Manager/Broker/Rental & Sales Associate
Of the Current Fort Lee, New Jersey Office Of: 105 Main Street, Fort Lee, New Jersey
(“Mr Tambure to date, The Current Office Manager Of The Current Hoboken, New Jersey
Office Of One- Newark Street, Hohoken, New Jersey”) together with (Ex-Office
Manager/Broker/Sales Associate of the Ex & Current-HMoboken New Jersey Office):
Patrick Ricciardi: 1Q WORK WITHIN THE OFFICKS OF WEICHERT REALTORS
located at One- Newark Street, Hoboken, New Jersey; DEFENDANTS;

 

2). During plaintiff's Contractual employment both he and his fro children, (“Son -Age 12 at that time” and
“Daughter -Age II at that time”) ag well as other individuals, (“ineluding children/minors in various
surreptitious instances or incidents"), WERE (“AND CONTINUING TO DATE) WRONGFULLY VICTIMIZED
THROUGH PATTERNS OF THE DEFENDANTS VARIOUS MULTIPLE SURREPTITIOUS ACTS OF ORGANIZED
CORRUPTIONS (INCLUDING (RUT NOT LIMITED TO) BOTIT VERBAL AND PHYSICAL VIGLENCE(S) TOGETHER
WITH BOVH YERBAL AND PHYSICAL DISCRIMINATORY, SEXUAL, CRIMINAL, INTIMIDATIONS RY THE

ABOVE DEFENDANTS TOGETHER WITH Silvina Clariana (& fer Career Criminal Boyfriend ASA. “Mr Disla™
Patrick Ricciardi (& Jeseph Tamburo), Jerome Mathews, and Martha Romano, Of:
WEICHERT REALTORS Of: One- Newark Strect, Hoboken, New Jersey; DEFENDANTS;

 

     

2-4), The City Of Hoboken New Jersey: Joseph Sherman, 94 Washington Street, Hoboken, New Jersey 070303
Fx-Hoboken Mayer Anthony Russv, and his sons: Hoboken Councilman Michael Russo, Hoboken Police
Officers Authony Russo Jr., & Nick Russo; The City Of Hoboken Police Department; “Michelle Russo &
Naima Grandella & her Niece & Riverside Healty of 209 Washington Street, Hoboken, New Jersey; Giovanni
John Labarbera and his son: Vincent Labarhera & Realty Express Labarbera of 210 Washington Street,
Hoboken, New Jersey; The Hoboken Chamber Of Commerce; Brian Battaglia, One Newark Street Hoboken,
New Jersey 07030; The County Of Hudson, New Jersey: Donate Battista, 547 Pavonia Ave 4 FL. Jersey Clty,
New Jersey 07306; The Hudson County Board Of Realtors: Jocseph Hottendorf & Billy Heslin 1325 Paterson
Plank Ro. Secacus, New Jersey 07094; Eastern Bergen Couoty Buard Of Realtors: Robert White: 545 Broad
Ave. Palisades Park, New Jersey; The State Of New Jersey: Peter C. Harvey: Huges Justice Complex: 25 Market
St. Trenton, New Jersey 08625; The State Of New Jersey Department OF Banking and Insurance & Real Estate
Commission: Holly Bakke, 20 West State Street, Trenton, New Jersey 08625; The State Of New Jersey Real
Estate Commission; Holly Bakke, 20 West State Street. Trenton, New Jersey 08625, DEFEN DANTS;

 

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2-B), The State Of New York Probation and Parole Departments: iot Spitzer, The Capital Justice
Building, State Street 2". FL Albany, New York 12224; The County Of Westchester New York
Frobation and Parole Departments: 148 Martine Ave. White Plains, New York 10601; ‘The City OF
Yonkers, New York Probation and Parote Departments: frank J. Rubino, 40 South Broadway, Rm.
300 Yonkers, New York 10701; “The Current_Joseph Assenzio/Remundi Sr. N.Y. NJ. Interstate
Crime Family Of Youkers New York:” & Nalu Pereira of Yonkers, New York; DEFENDANTS;

2-C). Silvina Clariana & her Son & her Career Criminal Boyfriend (“Mr. Disla”) previously of
The Daric Towers: 100 Manhattan Ave. Union City/Jersey City, New Jersey, DEFENDANTS;

2-D), “Mr. Disla: an Kx-Rental and Sales Associate Trainee Of The Ex “Mile Square Realty”
af 100 Bioomfield Street Hoboken, New Jersey 07030, DEFENDANT;

2-E). Weichert Realtors Fort Lee Office & Joseph Tamibure Of 105 Main Street. Fort Lee, New Jersey;
DEFENDANTS;

2-F). Weichert Realtors Tenafly Office & Marnie Soudy of 13 West Railroad Ave. Tenafly, New Jersey;
DEFENDANTS;

2-G), Realty Express Eabarbera & Giovanni John Labarbera & Son: Vincent Labarbera (OQwners/C.F.0's) &
Silvina Clairiana C4: 210 Washington Street Hoboken, New Jersey; DEFENDANTS;

2-H). Corporate Realty & Kosmos Bapdanos Jr. (Owner/C.E.0.) & Dino Bagdanos & Silvina @lariana Of 529
Washington Street, Iohoken, New Jersey; DEFENDANTS;

2-D. Liberty Realtv_L.L.C. & Joseph C. Covello Owner/C.k.G, & Silvina Bigla: (“Maiden Name: Silvina
Clariana™) of 525 Washington Street. Hoboken, New Jersey 07030;

2-J). Silvina Disla (Maiden Name: Silvina Clariana) & her Son & her current husband “Mr, Disla”
currently of (Street Address Unknown) Little Ferry, New Jersey; DEFENDANTS;

2-K). Mayer David Reberts: Current Mayor: City Of Haboken, New Jersey, OF 94 Washington Street, Hoboken
New Jersey 07030; DEFENDANTS.

     

CAUSES OF ACTION:

3). ‘The plaintiff's Independent Contract_was Wrongfully Terminated, Defamed, and
Slandered, and Scandaled “to date” (“both in written form together with verbal Assaults to
date”) ON or about September 04". 1998 by the defendants, (“the defendants Libelous
under Six Year Statute Of Limitations”): additionally NO Statute of Limitations:
“for The Truth:” For Justice,

 

4). The defendants additionally CAUSING Plaintiff(s) Tortious Economic Impediments:
Unlawfully: “Che defendants Libelous To Date” tegether with for “Back Pay” / Back
Ayerage Monthly Commissions, “Front Pay” / Front Average Monthly Commissions together with
various additional Damages under plaintiff(s) additional Torts and various Claims in some
matters “cxisting to date” under 1, 2, 3, & 4 to 6 Year Statutes Of Limitations, 10 Year and
NO Limitations: For The Truth; “For Justice.”

 

 

5) The defendants surreptitious consecutive PATTERNS: SSSACTS™" Of
eeOPRAUDS”” including (but not limited to): “““‘ in Contracts ””” including (“Implied”),

“Training Materials,” “““Material Misrepresentations:””” Unfair Dealings, to say the least,
and “Breach Of Duties To Disclose.”

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6). The defendants “““surreptitions PATTERNS” of various, multiple, ACTS Of

Organized Corruptions: (“““Patterns Of Organized Crime”””): “both Wrongfully and

Intentionally Inflicted” ON the plaintiff(s) (“ON their Victim(s)”) including (but not limited to):
in connections to:

seco The Hispanic Mob{s)”””
such as including (but not limited to):
weer he Latin Kings”””
together with
“se The Italian Mob ”””

6-A). Federal Statutes 1.04 at 1-20 (1998):
Vederal Interstate Racketeering {Influenced Corrupt Organizations;
together with

6-B). 18 USCA 1961-1968 (1970):

Interstate Commerce Act;

together with
including (but not limited to):
Federal Interstate Wire or Radio Communications Statutes

including (but not Simited to):under - U.S.C.A. 47,223 (£)
including (but not limited ta):
in connections to:
including (but not limited ta):

“Coldwell Banker Realtors;””
“<*Buredorf E.R.A. Realtors;”"”

eeecge eeccde “COW oichert Realtors P3999) 999997 399995

in connections to:
including (but not limited te):

City Of Hoboken, New Jerscy:
Multiple Criminal Reports and Criminal Complaints Filed by creditable victim/complainanut: George ML.
Doumit regarding multiple surreptitious “““STALKINGS.""" Stealth Attacks””’” Assaults, and Vandalisms
“which ook place? “““within’”” the Offices””” Of Weichert Realtors, (ne-Newark Street. Hoboken, New
Jersey From ON (or about) Mid-August Of 1998 on a day by day basis Of Attacks By The Assailants:
SILVINA CLARIANA and her Career Criminal BOYFRIEND: (4.4.4. MK. DISLA: Silvina Cluriana’s current

husband to date.”); Cirqugh September 4°. 1998. Repurts / Complaints / Docket No’s. / Assailants First Name
and exact Address “to be Discovered.”

“eThe defcodants bath “ceo Wrongful?” and «oC nientional Inflictions:?"”
including (but not limited to); “““Intentional Negligence(s):”””

“ee TO FORCE THE PLAINTIFF(S) OFF THE JOB; ”””

as well as
“oul (} FORCE THE PLAINTIFF(S) OFF THE JOB SITE,”
as well as

“FO FORCE THE PLAINTIFF(S) OUT OF BUSINESS:”””

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as well as
“To Force The Plaintiff(s) Out Of Interstate Business(s);”””
as well as

sence TC) DEFAME: eee GC) SLANDER;:””” TO LIBEL; wy
“eT Fictitiously LABEL: “To Fictitiously NICK NAME;"""

as well as
ceeeee TCO FORCE THE PLAILNTIFF(S) INTO BANKRUPTCY; ”””
together with

6-C). N.J.S.A. Little R-LC.O. Act;

together with
6-D). including additional Federal and State Statutes;
together with

6-E). ‘he defendants Criminal_and Civil Violations (“Restrictions To Date") OF The Plaintiff(s)
Employment Civil Rights as defined under Federal 42:1983 Civil Rights Act: Employment
Discrimination(s): [ndividious Discrimination(s) including (but not limited to): “Lack Of Procedural
Due Process” through defendants Exempling ‘The Plaintiff(s),
together with
A TOTAL LACK OF WORK FLACE SECURITY;

sae 4 TOTAL LACK OF EMPLOYEE SECURITY; """
A TOTAL LACK OF POLICE. PROTECTION;
together with
6-1). and other Civil Rights matters:
(“The Defendants Total Criminal and Civil Violations OF The Plaintiff(s) Civil Rights”);
together with
6-(3). ‘The defendants Criminal and Civil Violations Of United States Constitutional Law: including (but not
limited tu): Violations Of Plaiatiffs Constitutional Freedoms: (“a total Lack Of Probable (!ause(s)"):
Including “Illegal Approach(s), Violation(s) OF Jurisdiction(s): (“Megal approach(s), “““Statking(s), Sicatth(s),
Thefi(s), “Invasion(s) Of Privacy(s),” [legal Search and Seizure “““Abduction(s), Kidnapping(s),""” Invasion{s)
Of Privacy(s): “ENTRAPMENT(S},” Criminal Violence: FALSE IMPRISONMENT(S): Criminal Violence
ce riminal Coercion(s), Etc. Etc."

 

 

 

together with

6-H), The defendants Criminal and Civil Violations Of Equal Protection:
(“A ‘Total Lack Of Police Protection”);
A TOTAL LACK OF WORK PLACE SECURITY:
ves & TOTAL LACK OF EMPLOYEE SECURITY;

tovether with
6-I). The defendants Criminal and Civil Violations Of The Fourth Amendment: Invasion(s) Of Privacy(s):
“cE NTRAPMENT(S)2"" FALSE [MPRISONMENT(S); *" (“Illegal Search(s) and Seizure(s) Thefts”);
“Fraud(s),” Larceny(s), Grand Larceny(s), Theft(s}: Criminal Violence: “““CRIMINAL COBRCION(S}),"7""

together with
6-J). The defendants Creating Fictitious Scandals with intent to Assault, Defame, Slander, Libel, and “lo
Fictitiously LABEL, To Fictitiously NICK NAME (“thelr Victim") = “““Co Fictitiously NICK NAME the
paintiffis) Employments, Contracts, and “““Independent Contracts,”""" and in other Contracts, and Careers
threugh “Criminal Violence,” Criminal Coerciens, “and various Moh Tactics Of Organized Crime.

together with

 

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6-K). The defendants “““A VOIDING Criminal Presecutions””” through various Criminal
Means: (“with their various Criminal Intents Of EVADING Criminal Prosecutions =

Criminal Violence = “Criminal Coercion(s})"””).

inching (but not limiled to):
in connections to:
together with
6-L). THE DEFENDANTS TOTAL LACK OF WORK PLACE SECURITY:
(“A TOTAL LACK OF EMPLOYEE SECURITY"”"};
together with

6-M). THE DEFENDANTS “““AVOILDING THEIR LIABILITIES ”””
THROUGH VARIOUS “““CRIMINAL MEANS: (“with their Criminal Intents Of Evading”).
together with
é-N). THE DEFENDANTS TOTAL LACK OF POLICE FROTECTION(S).
together with
7). The defendants yerbal_and physical Intimidations “Ot Criminal Violence(s) and Criminal
Coercion(s)” together with Restricting Plaintiff(s) Freedom(s) Of Action(s) aud Access To
Employments, including Alternative Employments and Applications: (“and Public Facilities Usage”)
by and through various multiple surreptitious STALKINGS, False imprisonments Intimidation(s),
Assaults, and Attacks Of Criminal Violence: “““Criminal Coercion(s):""" (“Including the

defendants Restriction(s) Of The Plaintiff(s) Pree Enterprise(s)”).

8). The defendants Destroying including (but not limited tu): Plaintiff(s) Good Names, Good
Standings, and Professional Cureer(s) through the defendants Creating Fictitious Scandals.

 

9), The defendants “FORCING The Plainiifi(s) OFF THE JOB” through Criminal Violence.”
10), The defendants “FORCING ‘he Plaintiff(s) QUT OF BUSINESS” through Criminal Violence.”

11). The defendants “““FORCING The Plaintiff(s) INTO BANKRUPTCY” through various
Criminal Means: including (but not limited to): multiple surreptitious Patterns Of Criminal
Violence(s) and Criminal Coercion(s).

12). ‘The defendants “Fictitious NICK NAMING,” (“ol their Victim(s)") Of The Plaintiff(s) AS
including (but nol limited to): Quote: “““A SEX OFFENDER"”” Unquote ... WITH THEIR
Criminal, Discriminatory, and Sexual INTENTS Of multiple surreptitious “““Stalkings,”"" Assaults,
“Jntimidations,” Black Balling, and Black Listing the Ptaintiff(s) Forcing Plaintiff(s) Qut OF Business
through various Criminal Means.

13). The defendants “Unlawfully Barring Plaintiff(s) From Employment:” including Unlawfully
Barring Plaintiff(s) From Alternative Employments, and Applications.

14). The defendants surreptitious Criminal Behaviors and surreptitious Acts Of Violence “to date”

Plotting and/or by causing with malicious intent “Fhe Plaintifi(s) Homicides” (“by 1", Degree
Premeditation and attempt”).

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Case 2:04-cv-04319-JLL-RJH Document 4 Filed 02/22/05 Page 11 of 30 PagelD: 26

The Detendantis), The Accuserisy7h Does the ACCUSER dune a past hishery of taking
acousatians vf dis dype?

73). Do The Defendantis}| Haee (SPRORS THE AC CUS EARS) have aoy past Crinoanald History: 7 _

7oA}. Seech as Wocd) aed latimidation. fachading (raat aot liauted taj: Stalling By Stealth,
Hfaraganent, ‘Verroust ‘Vheeats, Criminal, Coercion: iliag False Police Report(s) and/or
Comokgiats) “haoibory” extortion. * Ne Capyyrite. fafrineerent’’ or oatleras ol leat ac tivities
Consistent With The Croninial Cements Constituting Federal. Interst ate Rackets eur 722. or
invesligaled, roporied, charged, or fuunid ailty with cepard te such? .

758), Such as any pusi history of Brand with respect io Local, Siate, oc Pederat Goverumeniat
Officedsureauls} or investigated, repocted, charyed or found puitty with repard to such? ._.

73C). Such as any past history of illegal drag issucs including (but not limited to} drug addictions or
investigated. reported, charped, ar found guilty with cepard to such 7...

750). Such as any past history of Alcohol related issues inelucing (but not liniited to} Alcobolisn
Addictions auimestigated, reported, charged, or found guilty with regard to such ? ...

758). Such as uny past histary of Motoc Vehicle, “Uriving.” Related issues with regard to Fraud,
Theft, Drag ar Alcohol related issues, including (bu¢ not limited to) Revocatious and/or Suspensions,
Tickets arinvestizalions, reports, charged, ov found yuilty with regard to such ? _..

aoaagy past history of Criminal andar Domestic Violence ar iinvestipated, reported,
nel, ae found poildy with cegard to such ? ___

75G). Such as any past histery of Prastitvdion and/gp Vice related Solicitation{s) of such, ot
lavestizalions, reports, charpes, oc fund yuilty with read fo such 7 __,

7S). Such os any past bistory of Seaually Uarassing any person(s) MALE or Female and/or
SOLICUP that persou(s) by cash or SQuand pro quo.” or dmvestizated, reported, charged, ae Foand
guilty with regard too sach 7 l.. Sacha aoy past bistery of ABUSING Children aod/or Miner(s)

 
 

7”

 

 

 

 

  
 

 

SE). Sach

 

 

 

 

including (bul oot limited to) of a sexual mature, Verbal or Physical Molestation, oc D.Y.ELS. related
issues, or investipated, reported, charped, or found guilty with regard to sach ? ...

 

76). Do The Defendant(s) Have (“DOES THE ACCUSER(sy") have a past Psychiatric History ? -..

TOA). Da The Defendant(s) Have Any Patterns of Mental Health or Behavioral Health Issues 7
...“Disorders” and/or “Disabilities .. including (but aot timiled (o) of a sexual nature 7...

761). Do Phe Defendant(s} Flave Any past history af Trauma duc to beige Physically oc Emetionatly
Vietimized in Childhood and/or Adolescents aad/or Adult-hood including (nit not limiled to) of a
Sextial Nature 7 _..

76). De The Defeadant(s) Have Any past history of Abortion(s) or have you had thoughts
considering Abortion(s) ? -..

76D). Do The Defendant(s) liave Any past history of Miscacrt: apels) ° ?

76H). Do The Defendant(s) Have Any past history of Sexually Tr ansmitted Disease(s) 7 7.

Specifically Note: Lanai pcotecling the aceuser(s) CIVIL REGHTS ¢ ...

 

oe

 

77} Oy The Defeadaut(s) fave ODOES THE ACCUSER(SY’) have a pust Discrimination History 2

77A). Do The Defendant(s) Have Any past lustory Execative, Managerial, Supervisory, Employee, or
Consulting TELD POSITIONS aul/or Employment related MELD POSITIONS where the
Accuser(s) lad been tiveslizated, reported, charged, oc found guilty with revard to Discrimination ?
778), Dy The Gefendani(s) Have Any past history of the ACCUSER(s) being Emptoyed by
Companies aml/og Corporations which had been investigated, reported, charged of found guilty with
cepard to Discrimination 7 __.

77C). Do The Defendant(s) Have Any past history of being associated with and/or being a member of
any Groups and/or Organizations which had been investigated, reported, charged or found puilty
with regard to Discrimination ? ...

77D)Yo ‘Phe Defendant(s): (DOES THE ACCUSER(S)") have any past Iistory of Sexually
Harassing any person(s} MALE or Fenale with regard to any and/or with repard to all of the above
and/or Solicit that person(s) by cash and/or “Quid pra qua,” 7... oc investivatek, reported, charged, or
found guilty with regard to sach ? __.

TTE). Do The Defendant(s): (TOES THE ACCUSER(S)) have a past er Curreat BCT. and/or
E.B.L. History(s) 7 Anv “RECORDS” t

 

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“WEICHERT REALTORS.”
“EXECUTIVE OFFICES®
“which engapeted) in Rackelecring, Sralking, Scandal,
Fraud, Black Maud, Crinuaal Cuurctnes, and Citand barceny(s).
and alfilintedt Companies and/or Corporations “LIBELOUS,”
Plaintiffs “Contractual Employer” from on or aboot Juue 29". 198 through defemdaats Wrongiil Discharge of the
plaintiff *s Contract on or about September 4 (098. Plaintiff's fadependent Contract wags Wrongfully Verminated, and
Detamed, Slandered, and Scandaled “Vo Date” (lath in written form together with “verbal Assaulis “to date") by (he

“ME, WEICHERT?"
OWNER/C EA;
He's a Racketeering Scandaler / “a _S ALK ER Fraud Artsi/ “Leach”
who engapes in Black Mail, Clininal Coercons, Grand Larceny(s), “Black Balliag™ & Black bastings
“(RA in charye of Weichert Realtors,”
He's.a Rackeicecing Scandaler ‘Ta SYALKGR” Fraud Arist “Leach”
who engages in (Klack Mail, Crimiaal Coercigns, Grand arceny(s}, “Slack Balling™ & Ukick Listuagy.

“WRICHERT REALTORS:”
“Hoboken Office Of: One -Newark Street, Toboken, New Jersey;”

 

“Totally Factual” multiple “ACTUAL” “CRIMINAL CHARGES" Reported AND FILED BY Totally
“CREDITABLE VICTIM: Comptainant:” George M, Doumit fled uader:

 

City Of Hoboken, New Jersey:
Multiple Criminal Reparts and Complaints Filed By Creditable Victim/omplaint (iearpe M_ Doumit, reparding
multiple Assauits, Attacks, and Vandalisums which did “ia fact” (ake place “with in” “the offices” of Weichert
Realtors, Hoboken, New Jersey:" STALKINGS, Assaults, Attacks, and Vandalisums which were

surreptitiously Witnessed and Evident:

“STALKINGS” ASSAULTS, ATEACKS, and VANDALISUMS which went TOTALLY [GNORED 8§Y
Weichert Realtors, it’s Manapemeat, and it’s Associates, “and THR HOBOKEN POLICE: “Including
THE ASSAILANT's (“Silvina Clariana “& HER CAREER CRIMINAL BOVERIEND'S 4.4.4. MR. DISELA’S:
Silvina's current husband io date”) usage of A Standard “Police Department Issucd” High Caliber
Automatic Hand GUN and Switch Blade NIFE"):

BOTH “WEICHERT REALTORS” AND THE HOBOKEN POLICE DEPARTMENT “““TOTALLY
REFUSED TO TAKE ACTION AGAINST The Assailant(s¥""" on a day by day basis of the Assailants
surreptitiags Attacks: Fram ON or about Mid-August Of 1998 continuuusly on a day by day basis OF Attacks

Ry The Assailants “within the Offices” Of Weichert Realtors, “Hoboken” New Jersey through
September 4%. 1998,

“Reports ‘Complaints and Docket No.’s
together with
Assailants Fiest Name And Exact Address:
“TO BE DISCOVERED.”

 

“PATRICK RICCIARDI:”
*“Ex-Office Manager/Broker/Sales Associate/Ex-Hobaken, N..1. Office;”
“He's a Seandaler”
who totally lacks any knowledge, what so ever, of Real Estate,
Nor Finance, Nor Marketing, Nor Management:”
“He's nothing more than a used car salesman

Wandering alcoholic womanizer:”

“He's an Extremely Violeat Career Criinal Racketeer,”
“He's a desperate Semi-Homeiess
“STALKER?® & “FRAUD ARTIST"
who engages jn Larceny, “Assaults,” False Imprisonments,”
& “Sexual Assaults” & Black Mail & “Criminal Coercions”

with his various malicious inleats of Grand Larceeys:”

 

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He'sa Child Malesier, whe has been known far surreptitiously Sexually Assaulting the plaintff(s) as well as Chaltross Miners in the
Thamont, Seltzer Wernentary Sehool and in the Dunont High Schou Syste of Borgen County New Jersey flor 1998 thy ane
equtina ing, Te Dake
“He's an Originated of tolally Fictitious Scandals to date,”
“He's Rackeleertag Scandaler & Fraud Artist:”
“ Te’s a Stalker Mobster ”
whe together with False Complainant Silvina Claciana & her Caccer Criminal Boyfriend,
Gigavani Labarbera & Joseph Tambure,
together with
("Naima Grandelia” & “her False Complainant Mid 20's Year Old NIRCE")
& *Michelle Russe and her Crime Family,”
engape(ed) in Assaults, False Gprisonmenis, Sexuat Assaults, "Black Mail,”
Criminal Ceercions, Larceny(s) “Black Ballings,” Black Listings”
and -THE FICTITIOUS NICK NAMING” Of Their Victim.”
“You know who you are, You're Gon'na Ge a Star”

“ES A FUCITIVE FROM JUSTICE”

“Naima Grandelia Ae Michelle Russa A KOA “The King Pins'"""

"Of Oraanimed Come" in Hoboken, New Jersey,

  

“SILVINA CLARIANA:”
*Ex-RENTAL & Sales ASSOCIATE Traince:”
“She's a Hispanic," FPossihly Arab, “Female”!
Ane: 25 to Mid 30°53 / Hair Color: “Blonde”
“Previously Divorced living together with her Son:
Doric Towers,” 100 Manhattan Ave. Jersey City, New Jarsey,
“SHE'S A STALKER FRAUD ARTIST “LEACH”
AND *AN_GREHUINATOR OF TOTALLY FICTITIOUS SCANDALS,”
WHO THROUGH CRIMINAL VIOLENCE “AND BLACK MAI".
TOCETIER WITH HER VIOLENT CAREER CRIMINAL KACKETEERING BOYFRIEND,
PATRICK RICCIARDE GHIV ANNI LABABERA, JOSEPL TAMBURO,
together with
(*“NAIMA GRANDELLA & HER Mid 20's Vear (Hd False Complainant NIECE”)
& “SHE MICIIELLE RUSSO CRIME FAMILY”
then engaged in
“FORCING THE PLAIN TIFE(S) OFF THE JOB?
and thereafter further engaging in Assaults, Fatse [mprisouments,
Sexual Assauits, “Black Mail," Criminal Coercions, and Grand Larteny(4}
“FORCING THE FLAINTIFE OUT OF BUSINESS”
WITH TEHEDR CRIMINAL INTENTS TO COMMIT LARCENYS,
“INCLUDING GRAND LARCENYS “OF PLAINTIFF'S, “PROPERTIES”
CTHEIR VICTIM'S PROPERTY ™) & “““COMMISSIONS"*” AND “ACCOUNTS CLIENTS.”
“She's a Dirty "Fraud Artist" and a Black Mailer:”
who engages(ed) in Stalking, Fraud, Fictitious Scandal, “Black Mall," Criminal Coercions, aad Grand Larceny(s}:
“She's An Eaxdcemely Violent Career Criminal “““RACKETEER:"""
who has also Later been known and discovercd as Fat Ricciardi’s, Joseph Tamburo’s, Joba ¢:. Labarbera’s
& The Michelle Russo Crime Family's “PROSTITUTE” as well ax other Hoboken Realtors:
“SHE'S A FUGITIVE FROM JUSTICE"
“together with"
"HER EXTREMELY VIOLENT (“Possibly Italian

 

   

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i Hispanic" /Arab*} “Career Criminal BOYFRIEND

“BOY FRIEND:”
Boyfriend Of: Ex-Rental Associate: “SILVINA CLARIANA:
“EXTREMELY ViOLENT CAREER CRIMINAL BOYFRIEND”
*An Extremely Violent Carcer Criminal “STALKER:”
“Lhe Ex-“Mile Square Realty: Rental & Sales Associate.” 100 Bloomfield Si. Hoboken, N.1.")
Italian’ “Hispanic™/ Arab “Male"/ Age: 25 to Mid 30’s/ §° 9"/ 190 tbs. / Hair & Mustache Color: Black”
CRIMINAL BOYFRIEND OF SILVINA CLARIANA:
(“a userof a Standard Police Department Issued “Semi-Automatic” High Caliber “HAND GUN” and Switch lade NIFE™),
“(Name Unknown)”
“Eye Written Yaur Own Direction, “You Know Whe You Arc,” You're Cion’na Be A Star,”
“All The Way To Heaven”

 

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Silvina Clariana’s Ex-Boyfriend A.K.A, Silvina Disla’s “current Husband to date:
* “MR, DISLA”
(“a Current resident of Little Ferry, New Jersey.
“HE'S A FUGCTEVE FROM JUSTICE.”

“JOSEPH TAMBURO:”
“Ex-Revional & Ex-Office Manaver/Broker/Sales Assaciate/Fort Lee ND. Office”
& ‘The Curcent-Office Manager/Broker of the Curreat-Hoboken, XI. Office:
“Lie's a Racketeering” Scandaler” “a Verbal aid Physical Intimidator aud an Extremely Vinton Career Criminal”
“He's nothing moce than a used car salesman,” Semi- Hoinetess “FRAUD AK TST,"
totally tacking any knowledge what so ever of Real Estate,” Nov Fiaance,” Nor Marketing, Nor Management”
who together with Patrick Ricciardi, False Complainant SILVINA CLARIANA & her Career Criminal BOYFRIEND,
Giovanni Labarbera, together with Naima Grandella_& her Mid 20's Year Old Fatse Coniplainant NIECE
& “Michelle Rasso” and her Crime Family”
engage(ed) in “Invasions Of Privacys,” (“NICK NAMING") & “surreptitious Sexual Assaults “te date’/ *Larcenyd(sy” /
“False Lanprisonments.” {flack Mailer’/ “Criminal Coeccions,” aod “Grand Larceny s “to dates”
“fle's a Stalker and “a Fraud Artist" aid a icach”

oH E'S JUST A MOBSTER?”
“He's alsa a Chill Mulester, who together with Patrick Ricciatdi has been known for surreptitiously Sexually Assaulting the
plainiti{s] as well as Childien/Mivocs in the Dumont felerer (Glerentary Sebool and in the Lutmant High School Syste wl Bergen

LTT

 

 

“He's an Originator Of. Totally Fictitiaus Scandals”
gs well as A Malicious Enforcer “““To Date:""™"
eetded A ag A Leach:"""
eoCH E'S A CAREER CRIMINALI"™"
SHE'S A RACKETEERING SCANDALER:”

“HE'S A DIRTY FRAUD ARTIST MOBSTER “““WWIIG together with his Career Criminal Co-Conspirators.
“““ORCANEZE DT" ANE ENGACGE(ed) IN Sh*t Fictitiously NICK NAMENG """ OF THLEER VICTIM Cthe Phaintiff(sy")
AS “(Quete: “4 SEX OFFENDER,""" Unquate, THEN THE “GRAND LARCENYS” AND “BLACK BALLINGS,”
AND THE BLACK LISTINGS “OF THEIR VECTIM.”

“Pye Written Youre Direction, "You mow who you arc,” You're Cion’na Be A Star,"

“AU The Way To Heaven.”

“HE'S A FUGITIVE FROM JUSTICE”

 

 

 

   

 

“WEICHERT REALTORS:”
“Fort Lee N.L Office OF: 105 Main Street, Fart Lee, NJ. Office,”
“FOSEPH TAMBURG:”
“Ex-Regional & Ex-Office Manager/Broker/Sales Associate/Fort Lee, N_J_ Office;”
“He's a Racketeering Scandaler:” / “a Dirty Mobster Fraud Artist”

“who Originates Fictilious Scandals” (“Fictitiously NICK NAMING His Victim”)
“+AND WHO ORGANIZES” “Fictitious Scandats”” with his various malicious intents of
Black Mail, Extortion, “and Crimigal Coercions
FORCING His Victim OFF THE JOB

with his additional intents of GRAND LARCENYS and BLACK BALLINGS,
through the Black Listings “OF HIS VICTIM:
then “FORCING His Victim (“the Plaintiffs") OUT OF BUSINESS”*" and into Bankruptcy.

*He’'s a Stalker Leach:”
“HE'S A CAREER CRIMINAL”
“(ve wrillen your own dircetion, You know whe you are, You’re Gon’na Be A Star,”
“All The Way To Heaven”
“HE'S A FUGITIVE FROM JUSTERCE™

 

     

vatatr

 

«JOSEPH TAMBURO’S “PROSTITUTES:”
Including (hut Not limited to}:
“She's a Caucasian/Female/* Under Ape”/Adolescence™
“He's a Caucasian/Mate"/*Dader Age’/Adolescence”
“She's an Kx-Sales Associate:
Caucasian/Femate/Age 18 to 28/Hair Color: Dark Brown/License #/Adulicry”

 

 

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“LIBERTY REALTY, L.L.C.”

525 Washington Street. Hoboken, New Jersey 07030
“FOSEPH C. COVELLO:”

Owner,

They're Racketeering Mobsters who engageted) in Urauds.” Ficutous Suandals, “surreptinons Sexual Assaults,”
ladividiqus Discrimination & Exempiiny, Comunal Coerons, “lack Baling,” & Black Listings OF Ther Victin
“SILVINA Ciariana DISTA:”

(*A current resident of Little Ferry, New Jersey}

(“Maile Name: Silvina Clariana”);

“She's a Current Realtors Racketeering, Fraud Artist, Career Criminal Mobster Associate
OY Liberty Realty, 1.L.C. Hoboken New Jersey;

“SHE’S A FUGITIVE FROM JUSTICE”

Breer ree tests
Biase a tol st ciicrUa Zee

ee Eee

a PT oa

 

Sales * Rentals * Investment * Mintgenenl

tc : alt
MR. DISLA:
(“Silvina Clariana’s Current Husband and previews Boyfriend”)
“A Violent Carcer Criminal Sick’o Nut Psychopath Marbster:”
(“A current resident of Little Ferry, New Jersey”)

“fle's aldo a Child Modester, who together with Inseph Tamburo and Patnek Ricciardi has been keawn for surreptitiously Sc xually
Assaulling the phindiff(s) as well as Childrew Mow in the Dumont Seltzer Flementary School and in the Lumet (igh Schaal
Systems of Bergen County New Jersey from 1998 through and coutinging "Toa Date"

“hte Written Your Direction, “You Know Whe You Are," You're Goa'aa Be A Star™

COWAH The Wey To Heaven"""

“HE"S A FUGITIVE FROM JUSTICK”

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“CORPORATE REALTY:”
The Current loboken, N.J. Office Of: 529 Washington Strect, Hoboken, New Jersey:
KOSMOS BAGDANOS JR.
& DING BAGDANOS
* OWSNER(SWCLE-O(5}
They're Racketeering Molisters who cngayze(ed} in “Frauds,” Fictitious Scandals, surreptitious Sexual Assaults,
Individious Discriminauon & Exempting, Crimunal Cocrcions, “Black Baling,”
& Black Listings OF Thou Victim,
“THEY'RE VIOLENT CAREER CRIMINALS”
"88 You Know Wha Kou Are, You're Goa na Ge aA Ata"
“THEW RE FUGITIVES FROM JUSTICE”

“SILVINA CLARIANA:”
Ex-Rental & Sales Associate: “CORPORATE REALTY” Hoboken, New Jersey:”
“““SHE'S A RACKETEERING “FRAUDARTIST® SCANDALERS("™™
COSHE'S A LEACHIT""

*** She's an eatremely Violent Career Criminal “Leach” and “An Originator Of Totally Fictitious Scandals"
who logether with her Violent Carcer Criminal HOVYERIEND, Patrick Ricciardi, Giovaani Labarbera, & Juseph Tamburo
together with (“Naima Grandella & ber False Complalvant Mid 20's Year Ol NIECE”)

& *The Michelle Russo Crime Farily

engage(ed) in
“RORCING THE PLAINFIFF(S) GFF THE JOB”
and thereafler further engage(ed) in
*FORCING THE PLALINTIFF(S) OUT GF BUSINESS”

She's has alse been knvwo and discovered as “Eat Ricciardi’s, Joseph Tamburo's, John Labarbera's
and The Michelle Russo Ceime Families “PROSTITUTE” ws well as other Hoboken, Realtors:
“You Know Who Fou Are, You're Gor'na Be A Star”

* SHE'S A FUGITIVE FROM JUSTICE ”

“REALTY EXPRESS LABARHERA REALTORS:”
LICENSE # $410306
“GhOVANMNI JOHN LABARBERA & Son: ‘Vincent Labarbera”
(OWNERS/C.E.O.'s);
They're Racketeering Mobsters who engageted) in “Frauds,” Fictitious Seandals, surreptitiqus Sexual Assaults,
Individious Discrimination & Exempting, Criminal Coercions, “Black Batlings” & “Black Listings OF Their Victims)”

 

“You know who you are, You're Goa'ng Be « Star”
“THEY'RE FUGITIVES FROM JUSTICE”

“SILVINA CLARIANA:”
“Wx-Kental & Sales Aggggiate: “REALTY EXPRESS,”
“Labarbera Realtors,” Hoboken, New Jersey.”
“eSTIE’S A RACKETEERING FRAUD ARTIST, SCANDALER.”""
S660 HE"S A LEACH IU"?

“uuShe's an extremely Violent Carcer Criminal “Leach,” and “An Originator Of Totally Fictitious Scandals”
who together with her Violent Career Criminal BOYFRIEND, Patrick Ricciardi, Giovanni Labarbera, & Joseph Tambura
together with
“Naima Grandella & her Faise Complainant Mid 20's Year Old NIECE") & “The Michelle Russe Crinte Family
engage(ed) in “FORCING THE PLAINTIFE(S) OFF TEE JOB”
and therafter further engage(ed) in
“FORCING THE PLAINTIFF(S} OUT OF BUSINESS:”

She has also been known and discovered as “Pat Ricciardi’s, Joseph Tambura’s, John (abarbera’s
and The Michelle Russo Crime Families "PROSTITUTE" as well as other Haboken, Realtors:
“You Knuw Who You Are, You’re Gon’na He A Star”

“SHE'S A FUCCHVE FROM JUSTICE”

“THE CURRENT “JOSEPH ASSENZIO/REMUNDI SR. & SON N.Y. NJ. INTERSTATE”
“CRIME FAMILY OF YONKERS NEW YORK,”
together with
“THE WEICHERT REALTORS "CRIME FAMILY:"
together with
"THE KX-“MILE SQUARE CITY REALTY CRIME FAMILY;"
together with
“THE MICHELLE RUSSO"
"CRIME FAMILY"

 

“OF HOBOKEN NEW JERSEY,"

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SYNOPSIS

Of Victimnd(s)/Plaintiff’s (“Gcorge M. Doumit’s”) Professional Back Round
“Prior To” Contractual Employment With Weichert Realtors:

From 1984 through 198% Municipalities and Banking Institutions & Services: including (but not limited to):
Real Estate Property Vax Revaluation(s); Banking; Mortgapes; and Originating; Real Estate Fee Appraising.

Creating and/or building strategies of develuping Real Estate Investments through Legally Leveraging
*Political Science” Of Law; taught to (he vietinn(s)/plaintift(s) in the early part of 1989 by both Charles Sere
Esq. and Vincent Scro C.P.A. of Cliffside, New Jersey, when they invited the victim(s)/plaintiff(s) for the Sale uf
239 Central Ave. Hasbrouck Heights, New Jersey. We then after “together” continued, (“““they representing
the victim(s)/plaintiff(s) ""” As Advisers”).

Charles Sera Esq. And Vincent Serco CAPA, then connecting the victim(s)/plainliff(s) to Arthur Arranda (a mortgage
Ranker/Lean Olfieer) whe then represented the victim(s/plaintift(s) thereafter ... (“The Vietin(s)plaintiffis) Then
“eetnicnawingiy'"" Became “The Fall Gay" For Their Bad Investnents"""),  Ailhougl. in retura, they then became the
victim(s)plaintiff(s) Professors: ““" My Meatars """ ...

The victin(s)/plaintiff(s) “““Mentors””" then became “““ Teachers "7"... Of A Specific Legal Keasening ...
diddar or A Financier. SUPERS

They then in 1989/00 invited the viclim(s)/plaintiff(s) into ““" The Upper “White Collar””” Circte””” OF Professionals””” such
as including (but not fimited to} Esy-(s}, C-P-A(s), Banker(s), M.D.(s), C.E.0.(5), C.F-O-(s), ete. etc. ete. Surroundiag “The
Itudson River Water Front *"" Of Hudson/Bergen County(s) OF New Jersey.

Charlie Scro Esq, then jokingly “““Nick Naming ‘he Victim(s)/Plaintiff(s); introducing the victim(s)/plaintif(s)
infa the White Collar Circle Of Professionals AS Quote: “““The Real Estate WHEELER DEALER"
Unquote, with reference to My Unusual Capabilities.

They then in 1992 connecting the victim(s)/plaintiff(s) to Philipp Apovian Esq. OF Fort Lee & Englewood Cliffs New Jersey,
who further taught the victimn(s)/plaintiff(s) Potiticul Seience: “Law Defense; we then “together” continuing: Philip Apevian
Esq. (“they representing the victim{(syplaintiff(s) ““* As Advigor(sy""")-

Then in 1992/93 and thereafter Stephen Leon (“His Honor”) Slate Of New York: Circuit Court: JUDGE: Winston Towers,
Palisades Park, New Jersey, wha taught the victim(s)/plaindiff(s) “““Expert Legal Defense"™" as we sat drinking Wine
“together” in his Palisades Park, Nui. Condominium; Ife Then Became The Victim(s)/Plaintiff(s) “““Teacher?"™"...4*“4s
another one of My Mentor(s)"*",,, and the victim(s)platatiff(s) is (are) a very good Student(s)?"” ... an excellent Student.”

Additionally, thereafier, in 2000, N.Y. NW. Suzanne 43. Chmura: Vice President C.E.0. (CHASE “Global Assets*
MANTATTAN BANK; who additionally became one of the victim(s)/pluintilf(s) Teachers: dy another ane of My Mentor(s).?""

 

Furthermore, Including (but not limited to): the vietim/plaintiff(s) Esq. Friends 12 Nu. N.Y. FL CA, Washington, B.C.
Including (but not limited to) BRS. RECORDS ... “Library Of Congress RECORDS ... **“Copyright Infringement?”

Sameone at vente Persare “) ene AM ING" OUR GOOD NAMES" ... DEFAMING ALL OF US!" 111?

   

cede 93

a Financier
“of Real Exiaie Development Siraiegies Of Law,”

“on Entrepreneur,"

eee Republican, sane “Monovamous," SEC onservative, 7 ce rorcrasexnal,”

“667 theral Artist.”
008 Creator ofr

aiid ROMA NZA SPFUIS 793
“AH Great Men in History
Took A Couple Of Fails Before Rising To Their Greatness.”
“Ouete Her”
“Ait Great Men In Histary
Mad A Great Women Behind Them.”
“Quote Mz.”
wee “Wellf Meet Avain™ ... “You aml I"... “Face to Face” .,.

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“DEMAND:”

WHEREFORE plaintiff(s) demand judgment of $ 47,400,000,000.00
damages of relief by Jury:

A). for the Truth.

B). for dustive.

C). for the defendants Obstruction(s) Of fustive.

1). for “Conspiracy.”

kK). for Individual Cu-defendants Personally and in their Official Capacities “as accessorics 10 the facts hereto.”
F). for surrepiitions Abuse GO Qualified Privilege(s).

G). for the defendants Creating ‘Totally Fictitivus Scandals: Including (but not limited to) Creating Fictitious
Sexual Harassment Allegations: (“Totally Lacking Any Probable Cause”).

i). for Knowingly Wrongfully Victhmizing (“their Victim(s)”) “the plaintifi(s),” through their use of Organized
Mob Tactics/Methods Of Organized Crime: “THE FICTIVIOUS NICK NAMING? (“Of Their Victim(s)”): OF THE
PLAUNTIFE(S) AS: including (but not limited to): Quote: “““A SEX OFFENDER” Unquote.

 

1). for patterns of surreptitious multiple Acts Of various Organized Corruptions and Criminal Violence(s) by
and through which the defendants did in fact victimized the plaintiff(s}, (“continuing to dale, as well a5 for life”).

J). for Forcing the plaintift(s) Off The Job,
K). for Forcing the plaintilf(s) Out Of Business, (“including Forcing the plaintlf(s) Out OF Interstate Business”).

L). for Forcing the plaintiff(s) inte Bankruptcy (“by illegal “Criminal, and Discriminatory, Restrictions OF The
Plaintiff(s} Freedom(s) Of Action(s), and Access(s)”) To Employments: including Alternative Employments and

Applications; (“and Public Facilities Usage"): through defendants Verbal and Physical, Criminal, Discriminatory,
and Sexual Intimidations: Criminal Violence: CRIMINAL CORRCIONS,

M). tor individual defendants persunally and jw their CHficial Capacities treble abilities (“malicious wanton,

extreme, outragevus, disregard, “thraugh criminal means factor(s):” TREBLE LIABILITIES: ‘Treble Libel{s)”)
Reconstructive Unlimited TREBLE DAMAGES including (but not limited to): patterns of wanton manner
intentional inflictions OF FRAUDS:” (“including but not limited tg: Contractual Frauds”): “Invasions OF
Privacys: “Theft(s),” “Individious Discrimination & Exempting,” Hate Crimes, “Entrapments,” CRIMINAL
COERCIONS, “Black Mail,” Extortion(s), Larceny(s), including Grand Larceny(s), “INTIMIDATIONS,”
“Stalkings by Stealth(s) with malicious intent(s) to harm and/or te commit Homicide(s), Warassment inctuding
Discriminatory flarassment, Terroristic Threats, and ASSAULTS including THROUGII TIE USE OF and
GUNS and Switchblade NIVES: “CRIMINAL VIQLENCE,” Assaults and Battery(s) lneluding Of Abusive
Sexual Behaviors as well. as Children/Minors Sexual Abuse/Assault(s)/Battery(s), “Invasion(s) OF Plaintiff(s)
Privacy(s),", INTENFIONALLY FILING FALSE POLICE REPORTS AND COMPLAINTS: “““PALSE
IMPRISONMENTS:7"" CRIMINAL COERCION(S): “Forcing ‘The Plaintiff(s} Off The Job, through Criminal

Violence and “Forcing The Plaistiff(s) Gut Of Business through patterns of Criminal Violence: “““4a TOTAL
LACK OF WORE PLACE SECURITY" 4 TOTAL LACK OF EMPLOYEE SECURITY: “(4 TOTAL LACK O4 POLICE

PROTECTION?" = “Restricting The Plaintiff(s) Freedom(s) Of Action(s), and Access To Employment and
Public Facilities Usage(s)” through “Total Breach and Lack Of Procedural Due Process” and Service OF Such,
At The Work Place “Before” Totally Lacking Probable Cause,... “False Imprisonment” further Criminal
Coercion(s), Defamation(s), Slander(s), Libel(s), “Wrongful Discharge: Hate Crimes:” ‘Totally Lacking Any
Prior Notice Of Any Negativity(s}, Nor Proof Of Such, “Nor Froof Of Service,” Totally Lacking Any
Probable Cause: “WRONGFUL DISCHARGE:” Back Pay / Back Average Monthly Commissions

and Front Pay / Front Average Monthly Commissions, Interest, Benefits, Tort(s),

 

 

 

 

 

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“““Compensatory’’” and Punitive Damages, pursuant to Racketeering Influenced
Corrupt Organizations Act: (1970) Federal Statutes 1.04 at 1-20 (1998) together
with 18 USCA 1961-1968 (1970) Interstate Commerce Act together with N.J.S.A.
Little R.I.C.O. Act ...[ncluding additional Federal and State Statutes.

N). for individual defendants personally and in their Official Capacities liabilities
(“malicious wanton, extreme, outrageous, disregard, “through criminal means factor(s)”
Intentional Inflictions:” Defamations, Slanders, Libels”), “Reconstructive Unlimited
Damages: “INDIVIDIOUS DISCRIMINATION & EXEMPTING,”’” HATE CRIMES:
Extortions: Black Mail: “WRONGFUL DISCHARGE:” Back Pay / “““Back Average
Monthly Commissions,""" Front Pay / “““Front Average Monthly Commissions,”
Interest, Benefits, Torts, “““Compensatory””” and Punitive Damages, Including (but not
limited to): “pursuant to Criminal and Civil Violations of the Age Discrimination in
Employment Act of (1967) as amended (ADEA): (“From Age - 40 and to date Age - 46”),
and Sex together with Sexuality: (“Monogamous Male Hetero-Sexual”), Religion:
“J owish/Scientelogist”), National Origin: (“Syrian”), in Criminal and Civil Violations of
‘Tithe VII of the Civil Rights Act of 1964, as amended (Title VII), together with The
Equal Pay Act, and Retaliation(s) in criminal and civil violation(s) Of Section 704(a) of Title
VI, Section 4{d) of the ADEA and Section 503(a) of the ADA ... (together with in
connections to paragraph M.) and hereto.

Q). for the defendants Total Criminal and Civil Violations of the plaintiff(s) Civil Rights.

P). for the defendants Criminal and Civil Violations Of United States Constitutional Law: including
(but not limited to}: Violations Of: “Megal Approach{s): (“Totally Lacking Probable Cause(s) =
Criminal Violence") = Lavasion(s) Of Privacy(s) = Thefi(s) = The Fourth Amendment: (“Tegal
Search and Scizure") ~ Entrapment(s) = “Stalking{s}: Stealih(s)” = CRIMINAL VIOLENCE =
Abduction(s) = (“1". Degree Kidnapping(s)”) = “““FALSE IMPRISONMENT(S)""" = CRIMINAL
COERCLON(S) = &“*FICTITIOUS NICK NAMING””” Of The Victim(sy’?" = “““AVOTDING
(“““and Evading""” CRIMINAL PROSECUTIONS”? AND LIABILITES, """

Q). for Detriment Damages.

R). for Black Listing of the plaintilf(s) Employment Records, Contracts, “Independent Contracts,” / “and
Professional, Careers," (“including Creating totally fictitious B.C. / D.M.¥. Records’) “Creating totally
fictitious Scandals, Defamations: “Verbal Slanders,” LIBELS.”

8). for TORTIOUS DEFAMATION(S): “““Verbal Slander(s:”"" Libel{s}: Causing Plaintiff(s} Economic
Lpediment(s) to plaintiff(s) Employ ments, Contracts, “Independent Contracts,” other Contracts: and in other
Contracts and Carcers-

T} for Destroying The Plaintiff(s) “Cond Name,” Good Will, and Good Intentions, “For Life.”

Uj. for “Destroying all of the plaintiff(s) future aspects of Employments: * (“Lovestor/Consultant: Real Estate
Careers”) & (“Theatrical Careers: Acting & Writing Ete.”).

Y). for Destroying the plaintiff (s) (“current and future aspects”) Of Both Social and Private Lnotimate
Relationships.

W). for Destroying the plaintiff(s) children’s Good Names fer life.

X). for Reverse Envineering “The Plaintiff(s) Copyrights - “Copyright Infringements” Theft, Grand Larceny(s).

Page 19, of 21.
Case 2:04-cv-04319-JLL-RJH Document 4 Filed 02/22/05 Page 20 of 30 PagelD: 35

¥). for Plotting and/or by causing with malicious intent “The Plaintiff(s) Hamicides” (“ly 1" Depree
Premeditation”) and by attempt on numerous occasions.

7). for Special Damages (“General Damages”): (“Past_and Future”): “““reputation,”””
mental suffering, “““physical sickness,””” wounded feelings and humiliation efc. etc.

#-1). for Express Malice: “A Wrongful Personal Intent ‘To Injure;”
fand possibly including incidents af “Actual Malice”).

Z-2). for Criminal, Discriminatory, and Sexual Intimidations.

Pew
Z-3). for Sex Crimes Victimizing Children/Minors. ee W770
nm oh
7-4). for Intentional Infliction Of Emotional Distress. ra a
aad 7!
i) 5
24-5). for Neglizent Inflictions Ot Emotional Distress. hd 2 co
=
7-6). for Negligent Hiring, Retention, and Training. v om
ge 6x
Z-7)}. for Loss Of Consortium, ai =
ea"

7-8). for Negligence In Policies and Procedures:
(“including Wanton Manner Intentional Inflictions Of Neglipence(y)").

2-9). for Costs.

4-10). for such other furiher retief as the jury may deem reconstructive, compensatory and just.

FEBRUARY 15", 2005

 

CERTIFICATION OF VERIFICATION AND NON-COLLUSION
I am the plaintiff in the above entitled action. The allegations of the complaint are truc to the best of
my knowledge, information, and belief, and the complaint is made in truth and good faith, and
without collusion, for the causes set forth in it. 1 am aware that if any of the foregoing statements
made by me are willfully false, [ am subject to punishment.

FEBRUARY 15"". 2005

 

Page 20. of 21.
Case 2:04-cv-04319-JLL-RJH Document 4 Filed 02/22/05 Page 21 of 30 PagelD: 36

CERTIFICATION
GEORGE M. DOUMIT, of full age, hereby certifies:

1). Tam the plaintiff in the within cause of action.

2). To the best of my knowledge and belicf, this matter in controversy was and currently 15
the subject of other actions:

JOINDER(S) in connections to:

including (but vet limited to):

2-A). United States Equal Employment Opportunity Commission:
Charge Of Discrimination: Wrongful Discharge:
Charge No. 17] - 2004 - 00351:
Notice OF Suit Richts:

2-B). United States Federal Civil Docket Case No. 2:04-CV-2647
2-C). United States Federal Civil Docket Case No. 2:04-CV-6188
2-D). United States Federal Civil Docket Case No. “Pending” 02/03/05
DOUMIT -yvs- Coldwell Banker Realtors et, al.

3). 1 certify that the foregoing statements made by me are true. I am aware that if any of
the foregoing statements made by me are willfully false, 1 am subject to punishment,

   
 

FEBRUARY 15™, 2005

GEORGHM. DOUMIT .
PRO FLAINTI

 

Ce:

“Federal Agencies,” Including (but nat limited to}: The United States Department OF Justice,
“The United States Attorneys Office,” F.B.1, Organized Crime Division, Washinton, D.C.

a

a OF
“THE PARENTS” OF SELTZER ELEMENTARY SCHOOL AND DUMONT HIGIESCHOOL Of oo
The Iumant School District, Bergen County School Systems Of The Stulc OF New Jersey. a —m7
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Page 21. of 21.

 
 

 

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NOTICE:

The following E.E.O.C, Two Page Complaint Form(s) 5 (3/01)
ARE affected and PROTECTED by the Privacy Act Of 1974.

eeenee SEALED 395999
eceeee FOR THE COURT’S VIEWING ONLY ”””

NO Defendants.
NO Attorneys.
 

-——Case 2:04-cv-04319-JLL-RJH Document 4 Filed 02/22/05 Page 23 of 30 PagelD: 38

PLO farm 50351:

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agencyties) Chiange Nof{s):
Thig doi is aillucted by the Privacy Acta 19740 Suc enclosed Pre, eat ” FEPA
Slater aed adver deformation befare cantipteting thie foren
—_ [x] ee0c 471-2004-00351
wae .. op Ce Ge 5h aan eee
Tat =e ET
____. New Jersey Division Of Civil Rights and EEO

. wo Sune on joca Agangy, if any . |
Niger {driniccady: fete | hats hrs } Nour co Doe Hume Pinot Mo flac! Area Code} Date of Birih a
Mr. George M. Doumit (561) 346-5994 05-15-1958 |
“gteaet Address. Caly, State and 2H? Code |

29 Notchwood Road, Butler, NJ 07405

Named is the Employer, Labor Orgarieation, Eemployinent Ageacy, Apprentceshys Comittee, or Stale ar ocal Government Agency Thatd Geliove
Discrminated Against Me or Others (fanove Mian lwo, dest onder PARTICULARS belaw )

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Marna No. Employees. Membr Phong Ma, fing Arca ode)
PUBLISHERS CIRCULATION FULFILLMENT 45 - 100
Strect Address Coty, Stabe aed eu? Cede:

| 433 Hackensack Avenue, 11th Fl, Hackensack, NJ 07601 - __ _|
Naarnie - Nu Tinpukiyer, Membars | Phone Ne. (lociude Ande Coch)
Street Address City, Stale and ZiF Code
DISCRIMINATION BASED ON (Check appropnate boxes) ) ~~ DAT ELS) DISCHIMINATION TOOK PLACE

Farhest Latest

{| RACE {| COLOR SEX x | RELIGION | 4 | NATIGNAL ORIGIN
17 ALIANT EON x | AGS | | DISABILITY | | OTHER (Specify below.)

THE PARTICULARS ARE {if additions! paper is needed, attach extra sheet(s)!:

02-17-2003 03-03-2003

[] CONTINUING ACTION

 

 

|] was employed part-time as a Telemarketing Associate Representative with the above named employer
from November 25, 2002, until March 3, 2003, when | was discharged without any indication, notice or
warnings. | maintained an exceptional work performance record. | was the “top preduccr”.

During my empioyment, | was harassed. | was called a whore, pimp, sugar daddy, and that all person{s)
I knew before working for the company were sex offenders, whores and pimps efc. ! was not to make
friends with the younger employees.

[ believe that an illegal investigation into my background of religion was conducted because they started
coming up with all kinds of things from my past. | was called “Jew/Arab terrorist by Chris Shamon and
Nate (last name unknown), officers of the company.

 

During the last few days before my discharge, they made specific remarks in the elevators and halfs out
loud, stating | was an “Arab Terrorist, a Jew Terrorist, and that | was a terrorist of Jews out to destroy
the New York Times.”

The company would send specific women over to me while | was on the telephone to feel my chest,
back, body and waist to determine if | was wearing a bullet proof vest.

 

want this charge filed with both the EEOC and the State or local Agency, itany. Iwill (NOUARY — When necessary for Stale and Local Agency Aequirements
advise the agencies if t change my address or phone number and Iwill cooperate fully
with them in the processing of ray charge in accordance with theic procedures

 

 

i declare under penalty of pesury that the above is true and gare

  

— ia
Feb 05, 2004 _L/

Date ao v i cfsroneg Gahty Signature
’ !

 

 

 

 

 
 

 

Case 2:04-cv-04319-JLL-RJH Document 4 Filed 02/22/05 Page 24 of 30 PagelD: 39

 

 

 

CHARGE OF DISCRIMINATION Charge Presented 1o: Ageneyiies} Charge No(s}
Tis fornias affected By the Mec, Act of 1974 See enclosed Prvary Ack [| FEPA
Slatumea. aod eather inlonmatian belore coridetiay tng loan ;
- [><] croc 474-2004-00351
” woes oe eT ae ran Sar pp: ~~
. eh be + Stew Jersey Division Of Civil Rights and EEOC

 

State of focal Ageey. if ay
TH PARTICULARS ARE (Conus af Uhr preston: mage!

a

At the beginning of | my ‘employment, they believed me to be gay after! delivered some greetings to the
CEO of the company. Chris Shamon and Nate started calling me “faggot” in front of everybody.

{ helieve that | have been discriminated against because of my age (45), in violation of the Age
Discrimination in Employment Act of 1967, as amended (ADEA), and my religion (Jewish/Scientologist},
national origin (Syrian) and sex (male), in violation of Tithe VU of the Civil Rights Act of 1964, as amended
(Title Vil).

Additional allegations made by me of various employees of management indicating to various females
throughout Continental Plaza tiat | was a danger to them.

Individious discrimination and exempting: Total violation of civil rights.
Total lack of procedural due process of how to address sexual harassment allegations at the work place.

Barring me from employment at Continental Plaza, Hackensack, NJ.

Creating a ficlicious police record. Additionally my allegations against the emptoyer in connection to
my questionnaire addendum pages.

Exempting from promotions. Exempting me from interoffice occasions/holidays such as “Valentine’s
day”: common interoffice practice.

 

i want this charge filed with Goth the EEOC and the Slate or jocal Agency, if any. J wih |] NOVARY — When necessary for State and Local Agency Requirements
advise the agencies if | change my address or phong number and § will cooperate fully
with [hern in the processing of my charge in secordance with ther procedures.

 

| swear or affirm thal | have yead the above chafge and that itis truc to

   

 

 

 

Feb 05, 2004
Date v 7 Char bing Ff ‘uty ignstare

 

 

 

 

 
Case 2:04-cv-04319-JLL-RJH Document 4 Filed 02/22/05 Page 25 of 30 PagelD: 40
|

UNITED STATES DISTRICT COURT we

 

 

DISTRICT OF NEW JERSEY As
UNITED STATES COURTHOUSE a 8 A \
5) WALNUT STREET, NEWARK, NEW JERSEY AY ae
Se
GEORGE MICHAEL DOUMIT ee
409 WASHINGTON STREET. # 124 “ = Ea
HOBOKEN, NEW JERSEY 07030 Sm
Fl. Ph, MESG; (563) 346-5994 oe J =m
VICTIM/PLAINTIFF PRO SE S42 yp =
aa ao
GEORGE M. DOUMIT UNITED STATES DISTRICT COURT =
VICTIM/PLAINTIFF DISTRICT OF NEW JERSEY =
-VS- Civil Action Docket No.
WEICHERT REALTORS 2:04-CV-04319 IuL- uA
MR. WEICHERT: OWNERIC.E.O. . .
JOSEPH TAMBURO a scrons NOTICE OF CLAIM
AGE! OKEX/GALES REPRESENTAT: WEI
wes OF COMPLAINT:
PATRICK RICCIARDI
MANACER/DROKERSALES REPRESENTATIVE OF WEICHERT REALTORS AMENDMENT(S)
DITIONAL TOGETHER WITH
ADE ERENDENT CONTRACTORS SUMMONS(S)
Oe TO FOLLOW
UPON JOINDER AND AMENDMENT
DEFENDANTS
NOTICE OF JIONDER OF

 

ADDITIONAL INDIVIDUAL DEFENDANTS
AND/OR SEPARATE REALTORS COMPANIES/CORPORATIONS

 

 

DEFENDANTS
AND/OR
CITY, MUNICIPAL, COUNTY, AND/OR STATE GOVERNMENTAL
DEPARTMENTS
Tacheding (hut oot Dailted te): : AND OR
WE HOMOKEN MAYOR ANTHONY USO, BOARDS DEFENDANTS
AND ic c TOGETHER WITH
THE BO ey POLICE DEPARTMENT; AMENDMENT(S) (AS NOTED ABOVE)
RUSHOMAIMA GRANDELLA TO FOLLOW
ANT) LAHARSARRA AND SON UPON AMENDMENT
THE OWNERS OF SUCH; ee
WUDSON COUNTY
AND JTS BOARD OF REALTORS;
STATE OF NEW JERSEY
AND IT'S DEFARTMENTS
oft BANEING AND INSURANCE Fg. 1. of 2.

AND REAL ESTATE COMMISSION;
DEFENDANTS

 

 
 

 

Case 2:04-cv-04319-JLL-RJH Document 4 Filed 02/22/05 Page 26 of 30 PagelD: 41
| i.

RECEIVES
WILLIAM T. WALSH. CLERK

Victim/Plaintiff George M. Doumit, with regard to his own safety and well being,
additionally ou behalf of his two teenage children’s safety and well being, ages 16
“daughter” and 16/17 “son” by way of Complaint against the defendant(s) says:

“PARTIES* & Including (but mot lintited to): DIVERSITY OF JURISDICTION?
together with FEDERAL QUESTION(S): “See Amendment™
1. The plaintiff George M. Boumit un Individual, a bona lide resident of New Jersey Hudson/Rergen County(s), Florida
Primarily Hernauda County(s), af 409 Washingtoa Street #124, Hoboken, New Jersey 67030 was lawfully employed through
an Independent Contractual Basis on June 29". 1998 by the defendant(s) Weichert Realtors of 1625 State Highway Route 10

East, Morrls Plains, New Jeracy 07950.

     
       

    

Ee irs a AIT ; cy pil BLE
(“both in written form to, with aaul: ”) ON or about September 04". 1998 by the defendant(s) Weichert
Realtors, OQwner/C.E.0. Mr, Welchert, Joseph Tamburo, Pat Riccthardl, as well as others to be named within plalndif(s}
amendment, (“the defendants Libelows under siz year statute of imitations” in connections t¢ other defendants to be joindered
within plaintiffs amendment? ... See Page One). . “

3. “The defendants additionally CAUSING” Plaintiffs Tortress Economi¢ Unlawful Impediments: ...
“The defendants Libelaus To Date” together with for Back Pay/Hack Commissions, Front Pay/Front Commissions together
with various additional Damages. The plaintiff(s) additional Tort Claims in some matters “existing ta date” under 1, 2, 3, & 4

_ 6 Year Statutes OF Limitations

4. The Defengaats Encluding (but not limited to): THE CITY OF HOBOKEN, NEW JERSEY; EX-MAYORK ANTHONY
RUSSO, AND HIS WIFE MICHELLE RUSSO, AND SON MICHAEL RUSSO; THE HOBOKEN CITY POLICE
DEPARTMENT; RIVERSIDE REALTY: RUSSO/NAIMA GRANDELLA: OWNER OF SUCH; REALTY EXPRESS AND
LABARBARRA AND SON: OWNERS OF SUCH; HUDSON COUNTY AND IT’S BOARD OF REALTORS; STATE OF
NEW JERSEY AND IT'S DEPARTMENT OF BANKING AND INSURANCE AND REAL ESATE COMMISSION:

DEFENDANTS, x i
5. CAUSES OF ACTION: EF Sion YLAVALE
OrHE# ConTGACTUAL Including (but not Ilmited to): Perama au &
Federal Statutes 1.04, at 1-20 (1998), & 18 USCA 1961-1968 (1970) “under 19 Year Statute Of Limitations; and/or NWLS.A.
Little Statutes.

‘The defendants verbal and physical Intimidations of Criminal Coerclon(s):
“BORCING The Plaintifi{s) OFF THE JOU through Criminal Violence.”
“FORCING The Plaintiit(s) OUT OF BUSENESS through Criminal Vieleaoce.”

‘The defendants Criminal and Clvil Violations/Reatrictions “to date” of the plaintift(s) Exnployment Civil Rights as defined
under Federal 42: 1983 Civil Rights Act Employment Diseriminatians D . Lack OF Procedural
Dus Frocess”), Through Defendants Rxempting The Plalntiif{s), and Other Civil Rights Matters.

The defendants Creating Fictltious Scandats with intent to Assault,

Defame, and Slanders the plaintifi(s) Independant Coatracts
through Criminal Violence, “and varlous Mob Tactics OF Organized Crime.”

“THE DEFENDANTS UNLAWFULLY BARRING PAINTIFF(S) FROM EMPFLOYMENT:”

The Defendants Restricting Paintiff(a) Freedom(s) Of Action(s) and Access Ta Eunployment By and Through Various

Intimidation(s) and Assaults Of Criminal Violence.
“The defendant(s) Black Balling/Black Listing/Farcing Plaintiff(s) Qut Of Bustaess through Criminal Mcaos.”
The Defendants Destroying Including (but not limited to}: Plaintiff(s) Good Names, Good Standings,
and Professional Career(s) through the defendants Creating Fictitious Scandals.
The Defendants Criminal Behaviors and Acts Of Violence “To Date.”
The Plotting and/or by causing with Malicious Intent “The Plaintifi(s) Homicides* (by 1". Degree Premeditation} and attempt.

= ont “DEMAND”
Qo plaintiffs) demand judgment of $ 35,000,000,000.00 damages of relief by
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SEPTERDRER 02, 2004
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CERTIFICATION OF VERIFICATION AND NON-COLLUSION
{ am the plaintiff in the above entitled action. The allegations of the compizint are true to the best of my knowledge,
information add belief, and the complaint Is made in truth and goad faith, and without allusion, for the enuses set forth in it,
Lam aware that ifany of the forcgelng statements made by me are willfully false, 1 ang p

  
  

SEPTEMBER 02, 2004

 
 

 
   

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CM/ECF LIVE - U.S. District Court for the District of New Jersey Page | of |

 

Complaints and Other Initiating Documents
2:04-cv-04319-JLL-RJH DOUMIT v. WEICHERT REALTORS et al

U.S. District Court
District of New Jersey [LIVE]
Notice of Electroni¢ Filing

The following transaction was received from entered on 9/9/2004 at 11:21 AM EDT and filed on
9/3/2004

Case Name: DOUMIT v. WEICHERT REALTORS et al
Case Nurober: 2:04-cv-43 19
Filer: GEORGE M DOUMIT

Document Number: |

Docket Text:

COMPLAINT against CITY OF HOBOKEN, RUSSO/NAIMA GRANDELLA, HOBOKEN CITY
POLICE DEPARTMENT, HUDSON COUNTY, MR. WEICHERT, REALTY EXPRESS, PATRICK
RICCIARDI RIVERSIDE REALTY, ANTHONY RUSSO, MICHAEL RUSSO, MICHELLE RUSSO,
STATE OF NEW JERSEY, JOSEPH TAMBURQ, WEICHERT REALTORS ( Filing fee $ 150 receipt
number 325939.) , filed by GEORGE M DOUMIT.(ji, )

The following document(s) are associated with this transaction:

Document description:Main Document

Original flename:t/a

Electronic document Stamp:

[STAMP deecfStamp_ID=1046708974 [Date=9/9/2004] [FileNumber=345893-0}

{a4a9b2fafdfefal 3739621726 1e5b07753bd 1 b062e0bb7eb7c89e3ebeOeb9c4907549
928432056¢ea82758844322a75863 | 661 344e4 £68627 tel 71¢35¢e24a06)]

2:04-cv-4319 Notice will be electronically mailed to:
2:04-cv-4319 Notice will not be electronically mailed to: 2
GEORGE M DOUMIT

409 WASHINGTON ST #124 tg
HOBOKEN, NJ 07030

hogar dl

https://ecfnjd.circ3 .den/egi-bin/Dispatch.pl?675572286873 36 | 09/09/2004

 
